         Case 2:11-cr-20005-PKH                        Document 97           Filed 01/18/12             Page 1 of 5 PageID #: 276
qAO 2458     (Rev.09/08)Judgftentin a Criftinal Case
             ShcetI



                                       UhrrrEnSrares DrsrrucTCoURT
                      WESTERN                                     Districtof                               ARKANSAS
         UNITEDSTATESOF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                            V.

             ORLANDO LIRA-IBARRA                                         CaseNumber;                       2:l1CR20005-005
                                                                         USM Nurnber:                      4 3 s 8 s -8r0
                                                                         Flovdw. Shurnpefi
                                                                         Defendant'sAttonrey
THE DEFENDANTI
        guiltyto count(s) One(l ) of the!q{_1c!ment
X pleaded                                       on May 17,2011
[J pleadednolo contendere
                        to count(s)
   which wasacceptedby the court.
I was foundguilty on count(s)
  aftera pleaof not guilty.

                          guilty ofthese offenses;
The defendantis adjudicated

Title & Section                Nature of Offense                                                            OffenseEnded     Count

2l U.S.C.$$ 8al(a)(l)          Conspiracy
                                        to DistributeMore than500Cramsof Methamphetamine                      12t05/2010       I
and(bXlXA)(viii) and846



      The defendantis sentenced
                              as providedin pages? through      5      of thisjudgment. The sentenceis imposedwithin the
statutory
        rangeandthe U.S.Sentencing Cuidelineswereconsideredasadvisory.

E The defendanthasbeenfound not guilty on count(s)

! Count(s)                                               !   is   !   are dismissedon the motion of the United States.

        It is orderedthatthedefendantmustnotify theUnitedStatesattomeyfor this districtwithin 30 davsof'anvchanceof name.residence,
or mailingaddress until_allfines,restituti.on,_costs,
                                                 irndspecialassessmentsimposedby thisjudgmentarefully paid.IfordEredto payrestitution,
the defen-dant nrustnotify the courtand United Siatesaltorneyof materialchangesih cconorn-ic
                                                                                          circumstarices.

                                                                         J a n u a r v1 3 . 2 0 1 2
                                                                         Dateof lmpositionof Judgment



                                                                       uiSl RobertT. Dawson
                                                                         SignatureofJudge




                                                                         HonorableRobertT. Dawson.SeniorUnitedStatesDistrictJudse
                                                                         Nanreand Title ofJudge
           Case 2:11-cr-20005-PKH                    Document 97          Filed 01/18/12          Page 2 of 5 PageID #: 277
AO 2458        (Rev.09/08)Judgmcntin CritninalCase
               Shcet2 - Imprisonment
                                                                                                    Judgment- Page      2     o1'
DEFENDANT:                      ORLANDO LIRA-IBARRA
CASENUMBER:                     2:l1CR20005-005


                                                            IMPRISONMENT

       The defendantis herebycommittedto the custodyof the UnitedStatesIJureauof Prisonsto be irnprisonedfor a
totalterm of:    135months.




  tr                                               to theBureauof Prisons:
          The courtmakesthe followingrecomnrendations




  X       The defendantis remandedto the custodvof the United StatesMarshal,

  tr      The defendantshallsunenderto the UnitedStatesMarshalfor this district:

          ! a t                                      n a.m. n p.m. on
          tr     as notifiedby the UnitedStatesMarshal.

                                                                                      by the Bureauof Prisons:
          The defendantshallsurrenderfor serviceol'sentenceat the institutiondesignated

                 beforeI D.m,on

          n      asnotifiedby the UnitedStatesMarshal,

          n      asnotifiedby the Probationor PretrialServicesOffice'



                                                                  RETURN
 I haveexecutedthisjudgmentas follows;




          Defendantdeliveredon

                                                       with a certifiedcopy of thisjudgment.



                                                                                                  LINITED STA'I'IjS MARSHAL



                                                                         By
                                                                                               DEPUTYTINITEDSTA'I'ESMARSHAL
               Case 2:11-cr-20005-PKH                                  Document 97                         Filed 01/18/12                      Page 3 of 5 PageID #: 278
AO 2458          (Rev.09/08)Judgmcntin a Criminal Case
                 Shoet3 - Sr.rpervised
                                    Rclcase
                                                                                                                                                     Judgment-Page               3        of
DEFBNDANT:  ORLANDOLIRA-IBARRA
CASENUMBER: 2:11CR20005-005
                          SUPERVISED RELEASE

Upon releasefrom imprisonnrent,       the defendantshallbe on supervisedreleasefor a term of:       five (5) years
It is anticioatcd thatthedelendarrt  will be deportedbv U.S.ImmigrationandCustomsEnfbrccmentlollowingthe terlnof imprisonment.
A;;oidi;dlt:lldiienaint-leaves thc Unitcd Statesbi way of derr6rtation    or othcrwiseaftercompletionof thEtennof_imprisbnmcnt    and,after
suchdena*rture.   asainre-enters                                         will thenbe in immediateviolatignof a condition^ot
                                  the UnitedStatesillehally,the deitbndant                                                   supervlsecl
iet-ei#' ii; priorToany rleportation,   defendantis rclEasidon bondby U.S.lmmigrationandCustom-s_      Enforcement                       th-e
                                                                                                                   qlitl after.deportation,
                                         lesally"det'endant
hiitiiiini-ldtiinitiu-itie ufiiiiO Siat'es                                            to thc nearestU.S.ProbationOfficewithin'72hoursof
                                                          shall--ineitherevent--re"rrort
srili retease  or return.Basedon thesecircuiristances,  the mandatorydrugtesting'provisions   of l8 U.S.C.$ 3583(d)areherebywaived.

       The defendant mustreportto the probationoffice in the districttowhich thedefendantis releasedwithin 72 hoursof releasefrom the
custodyof the Bureauof Prisoris.
The defendarrt            anotherfcderal,stateor localcrime.
            shallnot conTmit
T h e d e f e n d a n t s hnaol lt u n l a w f u l l y p o s s e s s a c o n t r o l l e d s u b s tTahnecdee. f ' e n d a n t s hraelflr a i r r f r o r n a n y u n l a w f u l u s e o f a c o n t r o l l e d
JuUsiance.     Thedefendant          shallsubinitto onedrugtestwithin l5 daysof release                                from irnprisonnrent               andat leasttwo periodicdrugtests
thereafter,asdeterminedby the court.
11           The abovedrugtestingconditionis suspended,                                that the defendantposesa low risk of
                                                        basedon the court'sdetermination
n                            abusd. Gheck.
             future substancle          if appticaile.)

X                                        a firearm,amnrunition,destructivedevice,or any otherdangerousweapon. (Check,
             The defendantshallnot possess                                                                         {applicable')

!            Thedefendantshall                                                      (Chechfapplicable.)
                           cooperateinthecollectionofDNAasdirectedbytheprobationofficer.

             The defendant  shallconply witlr the requirerncnts
                                                             of the SexOf}'ender  Registration                Act (42.U..S.p.$16901,9t,seS.)
                                                                                               and.Notification
LJ           as directedbv the probatioirofficer,theBureauof Prisons,or arrystatesexoft'enderregistrationagencyln whlch he or sheresldes'
             works,is a sfudenf,er was convictedof a qualifyingoffensc. (Check.if applitahle-)

!            The defendantshallparticipatein an approvedprogramfor domesticviolence. (Check,
                                                                                          if applicable.)
                                                                                                                             with the
         lf this iudgmentimposesa fine or restitution,it is a conditionof supervisedreleasethat the defendantpay in accordance
Scheduleof Payme-nts  sheetof thisjudgrnent.
         Thedefendant  mustcomplywith thestandardconditionsthathavebeenadoptcdby thiscouftaswell aswith anyadditionalconditions
on the attachedpage.

                                                     STANDARD CONDITIONS OF SUPERVISION
       l)                 shallnot leavethejudicialdistrictwithoutthe pennission
              the defendant                                                        ofthe couftor probationofficer;
      2)      the defendantshallreportto the probationofficer in a ntannerand frequencydirectedby the court or probationofficer'
      3)      the defendantshallanswertruthfully all inquiriesby the probatiorrofficer and follow the instructionsofthe probationofficer;
      4)      thedefendant                           andmeetotherfarnilyresponsibilities;
                        shallsupporthisor herdependents
      5)'     the defendantshall work regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,training,or other
              accentablereasons:
      6)      tl* a.f*nduntshallnotify the probationofficer at leastten daysprior to any changein residenceor employment;
      7\'     thedefendant shallrcfrainfrom excessive  uscofalcoholandshallnot purchase,    possess, use,distribute,           any
                                                                                                                   or administer
              controlledsubstanceor any paraphernalia relatedto any controlledsubstances,  exceptas prescrlbedhy a phystctan;
      S)      thedefendantshallnot frequentplaceswherecontrolledsubstances areillegallysold,used,distributed,or administered;
      g)                                                                                                   with any personconvictedof a
                                            with,anypersonsengagedincriminal activity and shallnot associate
              the defendantshallnot associate
              Ielony,unlessgrantedpermlsslon  tQoo so Dytnepro0atlonorrlcer;
    l0)'      the defendantshallpemrita lrrobationofficer to visit him or herat any time at homeor elsewhereandshallpermitconfiscationof any
              contrabandobservedin plain view of the probationofficer;
    I l)                  shallnotify the probationofficer within seventy-twohourriofbeing arrestedor questionedby a law enforcement
              the defendant                                                                                                         officer;

    12)
      '       the defendantshall not enterinto any agreementto act as an infornreror a specialagentof a law enforcementagencywithout the
              pennissionofthe court;and

    I'r'j)              bv the probationofficer,thedefendantshallnotify third partiesofrisli$thatnraybe occasioned
              asclirected                                                                                             by the defendant'scriminal
              rJr*ffi  D#r;;J'ili;;;.y'oTi[i'rhi]i*ii;ian.1   stritt peiii'iiihi'probation officer to make such notificationsand to confinn the
              defendanttscompliance   with suchnotificationrequirem-ent.
          Case 2:11-cr-20005-PKH                         Document 97                 Filed 01/18/12         Page 4 of 5 PageID #: 279
AO 2458    (Rev.09/08)Judgmentin a CrirninalCase
           Shcct 5 * Crirninal Monetary Penalties
                                                                                                           Judgment-   PagE -4-      of   --5-
DEFENDANT:                       ORLANDO LIRA-IBARRA
CASENUMBER:                      2:11CR20005-005
                                             CRIMINAL MONETARY PBNALTIES
     The defendantmustpay the total crirninalmonetarypenaltiesunderthe scheduleof paymentson Sheet6'


                      A$$e$sment                                              Fine                                Restitrrtion
TOTALS            $ r00.00                                                  $ 2,500.00                          $ -0-


!                     of restitutionis deferreduntil
     The deterrnination                                                     An AmendedJudgmentin a Criminal Case(AO245C) will be entered
     aftersuchdetermination.

 I   The defendantmustmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

                                                                                            uavment.unlessspecifiedotherwisein
     lf the defendantmakesa partialpayment,eachpayeeshallreceivean approximatelyprolrortioned
     iil'ii*iitilalf  oi perc6ntagq      "otun'in6etbw. uo*eue., puis'rant
                                                                         to l8 U,S.C. g 3664(i),all nonfederalvictims mustbe paid
                                   bayment
     bef<irethe UnitedStAtesis paid.-

 Name af ltayeq                               Total L0$s1                              RestitutionOrdered                    Prioritv or Perecnlage




 TOTALS


 !    Restitutionamountorderedpursuantto pleaagreement$

 !    The defendantmustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
      fifteenthdayafterthe dateof thejudgment,pursuant  to 18 u.s.c, $ 3612(0. All of thepaymentoptionson sheet6 may be subject
      to penalties
                 for delinquencyanddefault,pursuant to l8 U.S.C.$ 3612(g).

 X    The courtdeteminedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat:

      X                           is waived for the
           the interestrequirenrent                              X       fine   il   restitution.

      n    the interestrequirementfor the           tr    fine       n     restitutionis rnodifiedas follows:



 + Findinesforthetotal
                    amountoflosses                                                                              onorafter
                                                         109A,I10, I l0A,and I l3A ofTitle l8 foroffensescommitted
                                    arerequiredunderChapters
 Septemb-er13,1994,but beforeApril 23, 1996.
          Case 2:11-cr-20005-PKH                   Document 97          Filed 01/18/12       Page 5 of 5 PageID #: 280
AO 2458    (Rev,09/08)Judgmentin a Criminal Casc
           Sheet6 - Scheduleof PaYmcnts
                                                                                                Judgment-Page -L         ol   --;f
DEFENDANT:                 ORLANDOLIRA-IBARRA
CASENUMBER:                2:I I CR20005-005

                                                           OF PAYMENTS
                                                   SCTIBDULE

             the defendant'sability to pay, paymentof the total criminalmonetarypenaltiesaredue as follows:
Havingassessed

A     X    Lump sumpaymentof $          2,600.00        dueimnediately,balancedue

           n     not laterthan                              ,Qr
           X     in accordance        trc, nD, tr             E, or     fi F below;or

      n    Paymentto beginimmediately(may be conrbinedwith            E C,     !   D, or   I F below);or

c     n    Payment
                in equal                      (e.g.,weekly,monthly,quarterly)installmentsof $                   over a periodof
                         (e.g.,rnonthsor years),to commence             (e.g.,30 or 60 days)afterthe dateof thi$judgment;  or

      n    Paymentin equal               (e.g.,weekly,monthly,quarterly)installnrents
                                                                                    of $                  over a periodof
                      (e.g.,monthsor years),to commence            (e.g.,30 or 60 days)after release
                                                                                                   from imprisonment  to a
           termofsupervision;or

      tr Paymentduringthe term of supervisedreleasewill commencewithin              (e.g.,30 or 60 days)afterreleasefrour
                                                  plan
                       The courlwill setthe payment
           irnprisonment.                              basedon an assessment
                                                                          of the defendant'sabilityto pay at thattime;or

      X    Specialinstructionsregardingthe paymentof criminalmonetarypenalties;

           If not naidimmediatcly,any unpaidlinancialnenaltyimposcdshallbe paidduringthe pcriod<lfincarceration    at a rateof not less
           ittanSIS.OO quafterly.'ortd"Z"dtttre defenclani's
                                                          oulnerly earnings,wliicheueristreat'er.
                                                                                         -monthlyAfter incarceralion,anyunpairl,financial
           nenaltvshattbecom6h spccialconditionof supervised    releaseandriraybe paidin                     of not lesi thah l0% of the
                                                                                                  installments
           flifendant'snetmonthly'household   income,bit in no casclcssthan$100,00per month-with the entirebalanceto be paidin full onc
           monthoriorto thetennlnationofsunervisedreleasc.


Unlessrhecourthasexpresslyorderedotherwise,if thisj udgrnerrt                 paymertof criminalmonel3rypenaltiesis dueduring
                                                           iruposesimprisonment,
imprisonmerrt.All criminal monetarypenaltieq,exceptthose payntentsmadethroughthe Federaluureau ot tsrlSOnS lnmale rlnanclal
             Prograrn,aremadeto the clerk of the court.
Re'sponsibility

The defendantshallreceivecreditfor all paymentspreviouslymadetowardany criminalmonetarypenaltiesimposed.




 tr   Jointand Several

      DefendantandCo-DefendantNamesand CascNumbers(includingdefendantnumber),Total Amount,Joint and SeveralAmount,
      andcorespondingpayee,
                          if appropriate.




 !              shallpaythe costofprosecution.
      Thedefendant

 tr   The defendantshallpay the following courtcost(s):

 !    The defendantshallforfeit the defendant'sinterestin the following propertyto the UnitedStates:




Pavments   shallbe annliedin the followinsorder:(l) assessment, (2) restitution
                                                                              principal,(3) restitution      (4) fine principal,
                                                                                                      interest,
                                          (7) penalties,and(8) costs,includinficostbf prosecutionand court costs.
(5I fine interest,(6) communityrestitution-,
